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Presented to the Court by the foreman of the
Grand Jury in open Court, in the presence
of the Grand Jury and FILED in the U.S.
DISTRICT COURT at Seattle, Washington

August 6, 2020

a Clerk
By Deputy

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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

UNITED STATES OF AMERICA,
Plaintiff
V.
1. RAOUL V. NORMANDIA, JR.,
2. CHASE FRIEDRICH, and
3. IVAN ARMENTA,
Defendants.

 

 

The Grand Jury charges that:

COUNT 1

NO. CR20-110 RSL

INDICTMENT

Conspiracy to Distribute Fentanyl

Beginning at a time unknown, but within the last year, and continuing until on or

about April 21, 2020, at Des Moines, in King County, within the Western District of
Washington, and elsewhere, RAOUL V. NORMANDIA, JR. and CHASE FRIEDRICH,

and others known and unknown, did knowingly and intentionally conspire to distribute a

mixture or substance containing a detectable amount of N-phenyl-N-[1—(2—phenylethyl)—

4—piperidinyl] propanamide, also known as fentanyl, a substance controlled under

Title 21, United States Code, Section 812.

All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C),

and 846.
Indictment/ NORMANDIA, FRIEDRICH, and ARMENTA — 1

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COUNT 2
Distribution of Fentanyl

On or about April 17, 2020, in Des Moines, in King County, within the Western
District of Washington, the defendant, CHASE FRIEDRICH, knowingly and
intentionally distributed to defendant IVAN ARMENTA a mixture or substance
containing a detectable amount of N-phenyl-N-[1-(2—phenylethyl)—4—piperidiny]]
propanamide, also known as fentanyl, a Schedule II controlled substance under Title 21,
United States Code, Section 812.

The Grand Jury further alleges that this offense was committed during and in
furtherance of the conspiracy charged in Count 1, above.

All in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

COUNT 3
Distribution of Fentanyl

On or about April 17, 2020, in Kitsap County, Washington, within the Western
District of Washington, the defendant, IVAN ARMENTA, knowingly and intentionally
distributed a mixture or substance containing a detectable amount of N-phenyl-N-[1—-(2—
phenylethyl)—4—piperidinyl] propanamide, also known as fentanyl, a Schedule II
controlled substance under Title 21, United States Code, Section 812.

All in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

COUNT 4
Possession of Fentanyl and Cocaine with Intent to Distribute
On or about April 21, 2020, in Des Moines, in King County, in the Western
District of Washington, and elsewhere, the defendant, CHASE FRIEDRICH, knowingly
and intentionally possessed with intent to distribute (1) a mixture or substance containing

a detectable amount of N-phenyl-N-[1—(2—phenylethyl)—4—piperidinyl| propanamide,

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also known as fentanyl, and (2) cocaine, both Schedule II controlled substances under
Title 21, United States Code, Section 812.
The Grand Jury further alleges that this offense was committed during and in

furtherance of the conspiracy charged in Count 1, above.

All in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

COUNT 5
Possession of a Firearm in Furtherance of a Drug Trafficking Offense

On or about April 21, 2020, in Des Moines, in King County, in the Western
District of Washington, and elsewhere, the defendant, CHASE FRIEDRICH, knowingly
possessed a firearm, to wit: a Glock .380 caliber handgun, serial number ABMN255, in
furtherance of a drug trafficking crime for which he may be prosecuted in a court of the
United States, to wit: Conspiracy to Distribute Fentanyl, as charged in Count 1, and
Possession of Fentanyl and Cocaine with Intent to Distribute as charged in Count 4.

All in violation of Title 18, United States Code, Section 924(c)(1)(A).

COUNT 6
Possession of MDMA and Cocaine with Intent to Distribute

On or about April 24, 2020, in Federal Way, in King County, within the Western
District of Washington, and elsewhere, the defendant, RAOUL V. NORMANDIA, JR..,
knowingly and intentionally possessed with intent to distribute (1) 3,4-
methylenedioxymethamphetamine (“MDMA”), a Schedule I controlled substance under
Title 21, United States Code, Section 812; and (2) cocaine, a Schedule II controlled
substance under Title 21, United States Code, Section 812.

All in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

Indictment/ NORMANDIA, FRIEDRICH, and ARMENTA — 3 UNITED STATES ATTORNEY
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COUNT 7
Possession of a Firearm in Furtherance of a Drug Trafficking Offense

On or about April, 2020, but not later than April 24, 2020, in Federal Way, in
King County, in the Western District of Washington, and elsewhere, the defendant,
RAOUL V. NORMANDIA, JR., knowingly possessed a firearm, to wit: a FNH 5.7
handgun, serial number 38623217, and a Bushmaster XM15-E2S rifle, serial number
L241955, in furtherance of a drug trafficking crime for which he may be prosecuted in a
court of the United States, to wit: Conspiracy to Distribute Fentanyl, as charged in
Count 1, and Possession of MDMA and Cocaine with Intent to Distribute as charged in
Count 6.

All in violation of Title 18, United States Code, Section 924(c)(1)(A).

ASSET FORFEITURE ALLEGATIONS
All of the allegations contained in this Indictment are realleged and incorporated
by reference for the purpose of alleging forfeiture.
Count 1
Upon conviction of the offense alleged in Count 1, the defendants CHASE
FRIEDRICH and RAOUL V. NORMANDIA, JR. shall forfeit to the United States,
pursuant to Title 21, United States Code, Section 853, any property that constitutes or is
traceable to proceeds that each obtained as a result of the offense, as well as any property
that facilitated the offense. This property includes, but is not limited to, $10,750 in U.S.
currency seized from Defendant CHASE FRIEDRICH’s residence on or about April 21,
2020, and $10,369 in U.S. currency seized from the Defendant RAOUL V.
NORMANDIA, JR.’s residence on or about April 24, 2020.
Count 2
Upon conviction of the offense alleged in Count 2, the defendant CHASE
FRIEDRICH shall forfeit to the United States, pursuant to Title 21, United States Code,

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Section 853, any property that constitutes or is traceable to proceeds he obtained as a
result of the offense, as well as any property that facilitated the offense.
Count 3
Upon conviction of the offense alleged in Count 3, the defendant [VAN
ARMENTA shall forfeit to the United States, pursuant to Title 21, United States Code,
Section 853, any property that constitutes or is traceable to proceeds he obtained as a
result of the offense, as well as any property that facilitated the offense.
Count 4
Upon conviction of the offense alleged in Count 4, the defendant CHASE
FRIEDRICH shall forfeit to the United States, pursuant to Title 21, United States Code,
Section 853, any property that constitutes or is traceable to proceeds he obtained as a
result of the offense, as well as any property that facilitated the offense.
Count 5
Upon conviction of the offense alleged in Count 5, the defendant CHASE
FRIEDRICH shall forfeit to the United States, pursuant to Title 18, United States Code,
Section 924(d)(1), by way of Title 28, United States Code, Section 2461(c), any firearms
and associated ammunition involved in the offense, including but not limited to the Glock
.380 caliber handgun, serial number ABMN255, that was seized from him on or about
April 21, 2020 in Des Moines, Washington.
Count 6
Upon conviction of the offense alleged in Count 6, the defendant RAOUL V.
NORMANDIA, JR. shall forfeit to the United States, pursuant to Title 21, United States
Code, Section 853, any property that constitutes or is traceable to proceeds he obtained as
a result of the offense, as well as any property that facilitated the offense.
Count 7
Upon conviction of the offense alleged in Count 7, the defendant RAOUL V.
NORMANDIA, JR. shall forfeit to the United States, pursuant to Title 18, United States
Code, Section 924(d)(1), by way of Title 28, United States Code, Section 2461(c), any

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firearms and associated ammunition involved in the offense, including but not limited to

the FNH 5.7 handgun, serial number 38623217, and Bushmaster XM15-E2S rifle, serial

number L241955, that were seized from him on or about April 24, 2020 in Federal Way,

Washington.

Substitute Assets. If any of the above-described forfeitable property, as a result of

any act or omission of the defendant,

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a. cannot be located upon the exercise of due diligence;
b.

c.

has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the Court;
has been substantially diminished in value; or

has been commingled with other property which cannot be divided without

difficulty;

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it is the intent of the United States to seek the forfeiture of any other property of the
defendant, up to the value of the above-described forfeitable property, pursuant to Title
21, United States Code, Section 853(p).

A TRUE BILL:

DATED: lo JeCEO

Signature of foreperson redacted
pursuant to the policy of the Judicial
Conference of the United States

 

FOREPERSON

VA

| batt MORAN
UnitedStates Attorney

 

S. KATE VAUGHAN
Assistant United States Attorney

LYNDSIE R. SCHMALZ
Assistant United States Attorney

 

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